         Case
          Case2:10-cr-00565-RLH-PAL
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                                      Document37
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 2   DREW SMITH
     Assistant United States Attorney
 3   Lloyd D. George United States Courthouse
     333 South Las Vegas Blvd., Ste. 5037
 4   Las Vegas, Nevada 89101

 5                              UNITED STATES DISTRICT COURT

 6                                      DISTRICT OF NEVADA

 7                                               -oOo-

 8   UNITED STATES OF AMERICA,                   )
                                                 )
 9                         Plaintiff,            )       Case No: 2:10-cr-565-RLH-PAL
                                                 )
10                 v.                            )       GOVERNMENT’S MOTION TO
                                                 )       UNSEAL SEARCH WARRANT
11   ANDREW KAUFMAN,                             )       AND SEARCH WARRANT
                                                 )       AFFIDAVIT
12                         Defendant.            )
                                                 )
13

14    GOVERNMENT'S MOTION TO UNSEAL SEARCH WARRANTS AND AFFIDAVIT
15           COMES NOW the United States of America, by and through Daniel G. Bogden, United
16
     States Attorney, and Drew Smith, Assistant United States Attorney, District of Nevada; and
17
     respectfully moves this Honorable Court for an Order to UNSEAL the search warrants for 7868
18
     PALACE MONACO AVE LAS VEGAS, NV and for THE PERSON OF ANDREW
19
     KAUFMAN, and the accompanying affidavits, that were approved by this Court on October 29,
20

21   2010.
               DATED this 30th day of November, 2010.
22
                                                     Respectfully submitted,
23                                                   DANIEL G. BOGDEN
24                                                   United States Attorney

25                                                     /s/ Drew Smith
                                                     DREW SMITH
26                                                   Assistant United States Attorney
          Case
           Case2:10-cr-00565-RLH-PAL
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 4   Las Vegas, Nevada 89101

 5                              UNITED STATES DISTRICT COURT
                                       DISTRICT OF NEVADA
 6
                                                  -oOo-
 7

 8   UNITED STATES OF AMERICA,                    )
                                                  )
 9                              Plaintiff,        )   Case No: 2:10-cr-565-RLH-PAL
                                                  )
10             v.                                 )   GOVERNMENT’S MOTION TO
                                                  )   UNSEAL SEARCH WARRANT
11   ANDREW KAUFMAN,                              )   AND SEARCH WARRANT
                                                  )   AFFIDAVIT
12                              Defendant.        )
                                                  )
13

14                  ORDER UNSEALING SEARCH WARRANTS AND AFFIDAVIT

15          Based on the Motion of the Government, and good cause appearing therefore, IT IS
16   HEREBY ORDERED that the search warrants for the 7868 PALACE MONACO AVE LAS
17
     VEGAS, NV and THE PERSON OF ANDREW KAUFMAN, and the accompanying affidavits
18
     that were approved by this Court on October 29, 2010, shall be unsealed.
19

20
            DATED this 30th
                       1st day
                            day of
                                of December,  2010.
                                   November, 2010.
21

22

23                                                ___________________________________
                                                  UNITED STATES MAGISTRATE JUDGE
24

25

26

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